Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 1 of 44 PageID: 40163




                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY

   CommScope, Inc.; CommScope, Inc. )
                                        Civil Action No. 19-cv-15962-
   of North Carolina; and CommScope )
                                        JXN-LDW
   Technologies LLC,                  )
                                      )
                Plaintiffs,           )
                                      )
   v.                                 )
                                      )
   Rosenberger Technology (Kunshan) )
   Co. Ltd., Rosenberger Asia Pacific )
   Electronic Co., Ltd., Rosenberger  )
   Technology LLC, Rosenberger USA )
   Corp., Rosenberger North America   )
   Pennsauken, Inc., Rosenberger Site )
   Solutions, LLC, Rosenberger        )
   Hochfrequenztechnik GmbH & Co. )
   KG, Northwest Instrument, Inc.,    )
   CellMax Technologies AB, Janet     )
   Javier, and Robert Cameron,        )
                                      )
                Defendants.           )
                                      )
    _____________________________ )

       ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT

        Defendant Rosenberger USA Corp. (“Rosenberger USA”), by and through its

  undersigned attorneys, hereby answers Plaintiffs’ Second Amended Complaint (the

  “Second Amended Complaint”) as follows:

        1.    Rosenberger USA denies the allegations set forth in Paragraph 1.

        2.    Rosenberger USA denies the allegations set forth in the first and third

  sentences of Paragraph 2, except admits that certain Rosenberger entities develop,


                                        44760.00001
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 2 of 44 PageID: 40164




  manufacture, and/or sell telecommunications equipment, including BSAs.

  Rosenberger USA lacks knowledge or information sufficient to form a belief as to

  the truth of the allegations set forth in the second sentence of Paragraph 2, and, on

  that basis, denies the allegations.

        3.     Rosenberger USA denies the allegations set forth in Paragraph 3.

        4.     Rosenberger USA denies the allegations set forth in Paragraph 4.

        5.     Rosenberger USA denies the allegations set forth in Paragraph 5.

        6.     Rosenberger USA lacks knowledge or information sufficient to form a

  belief as to the truth of the allegations set forth in the second sentence in Paragraph

  6, and, on that basis, denies the allegations. Rosenberger USA denies the allegations

  set forth in the remainder of Paragraph 6.

        7.     Rosenberger USA denies the allegations set forth in Paragraph 7.

        8.     Rosenberger USA lacks knowledge or information sufficient to form a

  belief as to the truth of the allegations set forth in the first sentence of Paragraph 8

  with respect to CommScope’s intentions, and, on that basis, denies the allegations.

  Rosenberger USA denies the allegations set forth in the remainder of Paragraph 8.

        9.     Rosenberger USA lacks knowledge or information sufficient to form a

  belief as to the truth of the allegations set forth in Paragraph 9, and, on that basis,

  denies the allegations.




                                            -2-
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 3 of 44 PageID: 40165




        10.    Rosenberger USA lacks knowledge or information sufficient to form a

  belief as to the truth of the allegations set forth in Paragraph 10, and, on that basis,

  denies the allegations.

        11.    Rosenberger USA lacks knowledge or information sufficient to form a

  belief as to the truth of the allegations set forth in Paragraph 11, and, on that basis,

  denies the allegations.

        12.    Rosenberger USA lacks knowledge or information sufficient to form a

  belief as to the truth of the allegations set forth in Paragraph 12, and, on that basis,

  denies the allegations.

        13.    Rosenberger USA denies the allegations set forth in Paragraph 13,

  except admits that certain policies are effective at various entities, and respectfully

  refers the Court to the entirety of the referenced documents for their complete and

  accurate contents.

        14.    Rosenberger USA lacks knowledge or information sufficient to form a

  belief as to the truth of the allegations set forth in Paragraph 14, and, on that basis,

  denies the allegations.

        15.    Rosenberger USA lacks knowledge or information sufficient to form a

  belief as to the truth of the allegations set forth in Paragraph 15, and, on that basis,

  denies the allegations.




                                            -3-
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 4 of 44 PageID: 40166




        16.    Rosenberger USA lacks knowledge or information sufficient to form a

  belief as to the truth of the allegations set forth in Paragraph 16, and, on that basis,

  denies the allegations.

        17.    Rosenberger USA admits the allegations set forth in the first and second

  sentences of Paragraph 17. Rosenberger USA denies the allegations set forth in the

  third sentence of Paragraph 17.

        18.    Rosenberger USA admits the allegations set forth in the first and second

  sentences of Paragraph 18. Rosenberger USA admits that Rosenberger Pennsauken

  is engaged in precision manufacturing, but otherwise denies the allegations set forth

  in the remainder of Paragraph 18 and respectfully refers the Court to the entirety of

  the referenced documents for their complete and accurate contents.

        19.    Rosenberger USA admits the allegations set forth in the first sentence

  of Paragraph 19. Rosenberger USA denies the allegations set forth in the remainder

  of Paragraph 19.

        20.    Rosenberger USA admits that it is a private, nonpublic entity and that

  Rosenberger Germany is its ultimate parent. Rosenberger USA lacks knowledge or

  information sufficient to form a belief as to the truth of the remainder of the

  allegations set forth in Paragraph 20, and, on that basis, denies the allegations.

        21.    Rosenberger USA denies the allegations set forth in the fourth sentence

  of Paragraph 21. Rosenberger USA otherwise lacks knowledge or information



                                            -4-
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 5 of 44 PageID: 40167




  sufficient to form a belief as to the truth of the remainder of the allegations set forth

  in Paragraph 21, and, on that basis, denies the allegations. Rosenberger USA

  respectfully refers the Court to the entirety of the referenced documents for their

  complete and accurate contents.

        22.    Rosenberger USA lacks knowledge or information sufficient to form a

  belief as to the truth of the allegations set forth in the first, second, and third

  sentences of Paragraph 22, and, on that basis, denies the allegations. Rosenberger

  USA denies the allegations set forth in the fourth sentence of Paragraph 22.

        23.    Rosenberger USA lacks knowledge or information sufficient to form a

  belief as to the truth of the allegations set forth in Paragraph 23, and, on that basis,

  denies the allegations.

        24.    Rosenberger USA lacks knowledge or information sufficient to form a

  belief as to the truth of the allegations set forth in Paragraph 24, and, on that basis,

  denies the allegations.

        25.    Paragraph 25 states legal conclusions to which no response is required.

        26.    Paragraph 26 states legal conclusions to which no response is required.

        27.    Paragraph 27 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger USA admits that Rosenberger

  Pennsauken is organized under the laws of the state of New Jersey, has its principal

  place of business in New Jersey, and is subject to personal jurisdiction in this Court.



                                            -5-
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 6 of 44 PageID: 40168




  Rosenberger USA denies the allegations set forth in the second sentence of

  Paragraph 27. Rosenberger USA lacks knowledge or information sufficient to form

  a belief as to the truth of the allegations set forth in the remainder of Paragraph 27,

  and, on that basis, denies the allegations.

        28.    Paragraph 28 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger USA lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 28, and, on that basis, denies the allegations.

        29.    Paragraph 29 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger USA denies the allegations set

  forth in Paragraph 29.

        30.    Paragraph 30 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger USA denies the allegations set

  forth in Paragraph 30.

        31.    Paragraph 31 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger USA lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 31, and, on that basis, denies the allegations.

        32.    Paragraph 32 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger USA denies the allegations set



                                            -6-
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 7 of 44 PageID: 40169




  forth in Paragraph 32. Rosenberger USA respectfully refers the Court to the entirety

  of the referenced documents for their complete and accurate contents.

        33.    Paragraph 33 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger USA lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 33, and, on that basis, denies the allegations.

        34.    Paragraph 34 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger USA lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 34, and, on that basis, denies the allegations.

        35.    Paragraph 35 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger USA lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 35, and, on that basis, denies the allegations.

        36.    Paragraph 36 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger USA lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 36, and, on that basis, denies the allegations.

        37.    Paragraph 37 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger USA lacks knowledge or



                                           -7-
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 8 of 44 PageID: 40170




  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 37, and, on that basis, denies the allegations.

        38.    Rosenberger USA denies the allegations set forth in Paragraph 38.

        39.    Rosenberger USA denies the allegations set forth in Paragraph 39,

  except admits that BSAs can sometimes be complicated and valuable equipment and

  are sometimes attached to cellular towers or on rooftops.

        40.    Rosenberger USA denies the allegations set forth in Paragraph 40,

  except admits that BSAs sometimes use radio frequencies to exchange signals with

  mobile devices like cell phones and can receive and transmit radio signals at great

  distance with minimal interference.

        41.    Rosenberger USA denies that AAAP and PSOAA are “trade secret

  software programs” and otherwise lacks knowledge or information sufficient to state

  a belief as to the truth of the allegations set forth in Paragraph 41, and, on that basis,

  denies the allegations.

        42.    Rosenberger USA lacks knowledge or information sufficient to form a

  belief as to the truth of the allegations set forth in Paragraph 42, and, on that basis,

  denies the allegations.

        43.    Rosenberger USA lacks knowledge or information sufficient to form a

  belief as to the truth of the allegations set forth in Paragraph 43, and, on that basis,

  denies the allegations.



                                             -8-
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 9 of 44 PageID: 40171




        44.    Rosenberger USA lacks knowledge or information sufficient to form a

  belief as to the truth of the allegations set forth in Paragraph 44, and, on that basis,

  denies the allegations.

        45.    Rosenberger USA denies that the referenced software programs are

  “trade secret software programs” and otherwise lacks knowledge or information

  sufficient to state a belief as to the truth of the allegations set forth in Paragraph 45,

  and, on that basis, denies the allegations.

        46.    Rosenberger USA denies that Andrew Antenna Format is a “trade

  secret format” and that the other referenced software tools are trade secrets.

  Rosenberger USA otherwise lacks knowledge or information sufficient to state a

  belief as to the truth of the allegations set forth in Paragraph 46, and, on that basis,

  denies the allegations.

        47.    Rosenberger USA denies that the referenced design, methods, and

  software programs are trade secrets, and otherwise lacks knowledge or information

  sufficient to form a belief as to the truth of the allegations set forth in the remainder

  of Paragraph 47, and, on that basis, denies the allegations.

        48.    Rosenberger USA denies the allegations set forth in Paragraph 48.

        49.    Rosenberger USA denies the allegations set forth in Paragraph 49.

        50.    Rosenberger USA denies that the referenced software programs are

  trade secrets.    Rosenberger USA otherwise lacks knowledge or information



                                             -9-
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 10 of 44 PageID: 40172




   sufficient to form a belief as to the truth of the allegations set forth in the remainder

   of Paragraph 50, and, on that basis, denies the allegations.

         51.    Rosenberger USA denies the allegations set forth in Paragraph 51.

         52.    Rosenberger USA denies the allegations set forth in Paragraph 52.

         53.    Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in the last sentence of Paragraph 53,

   and, on that basis, denies the allegations. Rosenberger USA denies the allegations

   set forth in the remainder of Paragraph 53.

         54.    Rosenberger USA denies the allegations set forth in Paragraph 54.

         55.    Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 55, and, on that basis,

   denies the allegations.

         56.    Rosenberger USA denies the allegations set forth in Paragraph 56.

         57.    Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in the second, third, and fourth

   sentences of Paragraph 57, and, on that basis, denies the allegations, and otherwise

   denies the allegations set forth in the remainder of Paragraph 57. Rosenberger USA

   respectfully refers the Court to the referenced documents for their complete and

   accurate contents.

         58.    Rosenberger USA denies the allegations set forth in Paragraph 58.



                                             - 10 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 11 of 44 PageID: 40173




         59.    Rosenberger USA denies the allegations set forth in Paragraph 59.

         60.    Rosenberger USA denies the allegations set forth in Paragraph 60.

         61.    Rosenberger USA denies the allegations set forth in Paragraph 61.

         62.    Rosenberger USA denies the allegations set forth in Paragraph 62.

         63.    Rosenberger USA denies the allegations set forth in Paragraph 63.

         64.    Rosenberger USA denies the allegations set forth in Paragraph 64.

         65.    Rosenberger USA denies the allegations set forth in Paragraph 65.

         66.    Rosenberger USA denies the allegations set forth in Paragraph 66,

   except admits that CommScope makes Antenna Pattern Viewer publicly available.

         67.    Rosenberger USA denies the allegations set forth in Paragraph 67.

         68.    Rosenberger USA denies the allegations set forth in Paragraph 68.

         69.    Rosenberger USA denies the allegations set forth in Paragraph 69.

         70.    Rosenberger USA denies the allegations set forth in Paragraph 70.

         71.    Rosenberger USA denies the allegations set forth in Paragraph 71.

         72.    Rosenberger USA denies the allegations set forth in Paragraph 72.

         73.    Rosenberger USA denies the allegations set forth in Paragraph 73.

         74.    Rosenberger USA denies the allegations set forth in Paragraph 74.

         75.    Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in the third and fourth sentence of




                                            - 11 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 12 of 44 PageID: 40174




   Paragraph 75, and, on that basis, denies the allegations, and denies the allegations

   set forth in the remainder of Paragraph 75.

         76.    Rosenberger USA denies the allegations set forth in Paragraph 76.

         77.    Rosenberger USA denies the allegations set forth in Paragraph 77.

         78.    Rosenberger USA denies the allegations set forth in Paragraph 78, and

   respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         79.    Rosenberger USA denies the allegations set forth in Paragraph 79, and

   respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         80.    Rosenberger USA denies the allegations set forth in Paragraph 80, and

   respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         81.    Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 81, and, on that basis,

   denies the allegations, and respectfully refers the Court to the entirety of the

   referenced presentation for its complete and accurate contents.

         82.    Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 82, and, on that basis,




                                            - 12 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 13 of 44 PageID: 40175




   denies the allegations, and respectfully refers the Court to the entirety of the

   referenced presentation for its complete and accurate contents.

         83.    Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 83, and, on that basis,

   denies the allegations, and respectfully refers the Court to the entirety of the

   referenced presentation for its complete and accurate contents.

         84.    Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 84 concerning the

   contents of CommScope’s source code, and, on that basis, denies the allegations.

   Rosenberger USA otherwise denies the allegations set forth in the remainder of

   Paragraph 84.

         85.    Rosenberger USA denies the allegations set forth in Paragraph 85.

         86.    Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 86, and, on that basis,

   denies the allegations, and respectfully refers the Court to the referenced

   presentation for its complete and accurate contents.

         87.    Rosenberger USA denies that CommScope software was “stolen” and

   otherwise lacks knowledge or information sufficient to form a belief as to the truth

   of the allegations set forth in Paragraph 87, and, on that basis, denies the allegations.




                                             - 13 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 14 of 44 PageID: 40176




   Rosenberger USA respectfully refers the Court to the entirety of the referenced

   presentations for their complete and accurate contents.

         88.    Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 88 concerning

   CommScope’s source code, and, on that basis, denies the allegations. Rosenberger

   USA otherwise denies the allegations set forth in Paragraph 88 and respectfully

   refers the Court to the entirety of the referenced presentation for its complete and

   accurate contents.

         89.    Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 89, and, on that basis,

   denies the allegations.

         90.    Rosenberger USA denies the allegations set forth in Paragraph 90.

         91.    Rosenberger USA denies the allegations set forth in Paragraph 91,

   except admits that certain Rosenberger entities obtained AT&T’s approval to sell

   certain BSAs to AT&T. Rosenberger USA respectfully refers the Court to the

   entirety of the referenced presentations for their complete and accurate contents.

         92.    Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations in Paragraph 92 concerning AT&T’s

   “typical[]” practices, and, on that basis, denies the allegations. Rosenberger USA

   denies the allegations set forth in the remainder of Paragraph 92.



                                            - 14 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 15 of 44 PageID: 40177




         93.    Rosenberger USA denies the allegations set forth in Paragraph 93, and

   respectfully refers the Court to the entirety of the referenced documents for their

   complete and accurate contents.

         94.    Rosenberger USA denies the allegations set forth in Paragraph 94, and

   respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         95.    Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 95, and, on that basis,

   denies the allegations, and respectfully refers the Court to the entirety of the

   referenced presentations for their complete and accurate contents.

         96.    Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 96, and, on that basis,

   denies the allegations, and respectfully refers the Court to the entirety of the

   referenced presentations for their complete and accurate contents.

         97.    Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 97, and, on that basis,

   denies the allegations. Rosenberger USA respectfully refers the Court to the entirety

   of the referenced document for its complete and accurate contents.




                                            - 15 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 16 of 44 PageID: 40178




         98.    Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 98, and, on that basis,

   denies the allegations.

         99.    Rosenberger USA denies the allegations set forth in Paragraph 99.

         100. Rosenberger USA denies the allegations set forth in Paragraph 100.

         101. Rosenberger USA denies the allegations set forth in the first sentence

   of Paragraph 101 concerning “misappropriation of the Simulation Software,” the

   fourth sentence describing PSOAA as “a CommScope proprietary program that only

   CommScope’s employees can access,” and the allegations in the last sentence of

   Paragraph 101.      Rosenberger USA otherwise lacks knowledge or information

   sufficient to form a belief as to the truth of the allegations set forth in the remainder

   of Paragraph 101, and, on that basis, denies the allegations.

         102. Rosenberger USA denies the allegations set forth in Paragraph 102.

         103. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 103, and, on that basis,

   denies the allegations.

         104. Rosenberger USA denies the allegations set forth in Paragraph 104.

         105. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in the first two sentences of Paragraph




                                             - 16 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 17 of 44 PageID: 40179




   105, and, on that basis, denies the allegations.        Rosenberger USA denies the

   allegations set forth in the remainder of Paragraph 105.

         106. Rosenberger USA denies the allegations set forth in Paragraph 106.

         107. Rosenberger USA denies the allegations set forth in Paragraph 107.

         108. Paragraph 108 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger USA denies the allegations set

   forth in Paragraph 108.

         109. Paragraph 109 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger USA denies the allegations set

   forth in Paragraph 109.

         110. Rosenberger USA denies the allegations set forth in Paragraph 110.

         111. Rosenberger USA denies the allegations set forth in Paragraph 111.

         112. Rosenberger USA denies the allegations set forth in Paragraph 112.

   Rosenberger USA respectfully refers the Court to the referenced documents and

   website for their complete and accurate contents.

         113. Rosenberger USA denies the allegations set forth in Paragraph 113, and

   respectfully refers the Court to the referenced documents and website for their

   complete and accurate contents.

         114. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 114, and, on that basis,



                                             - 17 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 18 of 44 PageID: 40180




   denies the allegations. Rosenberger USA respectfully refers the Court to the

   referenced document for its complete and accurate contents.

         115. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 115, and, on that basis,

   denies the allegations, and respectfully refers the Court to the referenced document

   for its complete and accurate contents.

         116. Rosenberger USA denies the allegations set forth in Paragraph 116, and

   respectfully refers the Court to the referenced document for its complete and

   accurate contents.

         117. Rosenberger USA denies the allegations set forth in Paragraph 117, and

   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.

         118. Rosenberger USA denies the allegations set forth in Paragraph 118, and

   respectfully refers the Court to the referenced documents for their complete and

   accurate contents.

         119. Rosenberger USA denies the allegations set forth in Paragraph 119.

         120. Rosenberger USA denies the allegations set forth in Paragraph 120, and

   respectfully refers the Court to the referenced documents for their complete and

   accurate contents.




                                             - 18 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 19 of 44 PageID: 40181




         121. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 121, and, on that basis,

   denies the allegations.

         122. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 122, and, on that basis,

   denies the allegations.

         123. Paragraph 123 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger USA lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 123, and, on that basis, denies the allegations, and respectfully refers the

   Court to the referenced agreement for its complete and accurate contents.

         124. Paragraph 124 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger USA lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 124, and, on that basis, denies the allegations, and respectfully refers the

   Court to the referenced agreement for its complete and accurate contents.

         125. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 125, and, on that basis,

   denies the allegations, and respectfully refers the Court to the entirety of the

   referenced agreement for its complete and accurate contents.



                                             - 19 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 20 of 44 PageID: 40182




         126. Paragraph 126 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger USA lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 126, and, on that basis, denies the allegations.

         127. Paragraph 127 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger USA lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 127, and, on that basis, denies the allegations.

         128. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 128, and, on that basis,

   denies the allegations, and respectfully refers the Court to the entirety of the

   referenced agreement for its complete and accurate contents.

         129. Paragraph 129 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger USA lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 129, and, on that basis, denies the allegations, and respectfully refers the

   Court to the entirety of the referenced agreement for its complete and accurate

   contents.

         130. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 130, and, on that basis,



                                             - 20 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 21 of 44 PageID: 40183




   denies the allegations, and respectfully refers the Court to the entirety of the

   referenced agreement for its complete and accurate contents.

         131. Paragraph 131 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger USA lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 131, and, on that basis, denies the allegations, and respectfully refers the

   Court to the referenced agreement for its complete and accurate contents.

         132. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 132, and, on that basis,

   denies the allegations.

         133. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 133, and, on that basis,

   denies the allegations.

         134. Paragraph 134 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger USA lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 134, and, on that basis, denies the allegations, and respectfully refers the

   Court to the referenced statement for its complete and accurate contents.

         135. Paragraph 135 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger USA lacks knowledge or



                                             - 21 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 22 of 44 PageID: 40184




   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 135, and, on that basis, denies the allegations, and respectfully refers the

   Court to the referenced agreement for its complete and accurate contents.

         136. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 136, and, on that basis,

   denies the allegations.

         137. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 137, and, on that basis,

   denies the allegations.

         138. Paragraph 138 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger USA lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 138, and, on that basis, denies the allegations, and respectfully refers the

   Court to the referenced agreement for its complete and accurate contents.

         139. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 139, and, on that basis,

   denies the allegations.

         140. Paragraph 140 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger USA lacks knowledge or




                                             - 22 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 23 of 44 PageID: 40185




   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 140, and, on that basis, denies the allegations.

         141. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 141, and, on that basis,

   denies the allegations.

         142. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in the fourth sentence in Paragraph

   142, and, on that basis, denies the allegations.        Rosenberger USA denies the

   allegations set forth in the remainder of Paragraph 142.            Rosenberger USA

   respectfully refers the Court to the referenced documents for their complete and

   accurate contents.

         143. Rosenberger USA denies the allegations set forth in the last sentence of

   Paragraph 143.       Rosenberger USA otherwise lacks knowledge or information

   sufficient to form a belief as to the truth of the remainder of the allegations set forth

   in Paragraph 143, and, on that basis, denies the allegations.

         144. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 144, and, on that basis,

   denies the allegations.




                                             - 23 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 24 of 44 PageID: 40186




         145. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 145, and, on that basis,

   denies the allegations.

         146. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 146, and, on that basis,

   denies the allegations.

         147. Rosenberger USA denies the allegations set forth in the first sentence

   of Paragraph 147, and lacks knowledge or information sufficient to form a belief as

   to the truth of the allegations set forth in the remainder of Paragraph 147, and, on

   that basis, denies the allegations.

         148. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in the first and second sentences of

   Paragraph 148, and, on that basis, denies the allegations. Rosenberger USA denies

   the allegations set forth in the third sentence of Paragraph 148.

         149. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in the first and second sentences of

   Paragraph 149, and, on that basis, denies the allegations. Rosenberger USA denies

   the allegations set forth in the third sentence of Paragraph 149.

         150. Rosenberger USA denies the allegations set forth in Paragraph 150.

         151. Rosenberger USA denies the allegations set forth in Paragraph 151.



                                             - 24 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 25 of 44 PageID: 40187




         152. Rosenberger USA denies the allegations set forth in the first sentence

   of Paragraph 152. Rosenberger USA lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the remainder of Paragraph

   152, and, on that basis, denies the allegations, and respectfully refers the Court to

   the referenced document for its complete and accurate contents.

         153. Rosenberger USA denies the allegations set forth in Paragraph 153.

         154. Rosenberger USA denies the allegations set forth in Paragraph 154.

         155. Paragraph 155 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger USA lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 155, and, on that basis, denies the allegations.

         156. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 156, and, on that basis,

   denies the allegations.

         157. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 157, and, on that basis,

   denies the allegations.

         158. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 158, and, on that basis,




                                             - 25 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 26 of 44 PageID: 40188




   denies the allegations, and respectfully refers the Court to the entirety of the

   referenced document for its complete and accurate contents.

         159. Rosenberger USA denies that Dkt. No. 6 applies to CellMax

   Technologies AB or to Northwest Instrument, Inc., and respectfully refers the Court

   to the referenced document for its complete and accurate contents.

         160. Rosenberger USA denies that Dkt. No. 6 applies to CellMax

   Technologies AB or to Northwest Instrument, Inc., and respectfully refers the Court

   to the referenced document for its complete and accurate contents.

         161. Rosenberger USA denies the allegations set forth in Paragraph 161.

         162. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 162, and, on that basis,

   denies the allegations.

         163. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 163, and, on that basis,

   denies the allegations.

         164. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 164, and, on that basis,

   denies the allegations.




                                             - 26 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 27 of 44 PageID: 40189




         165. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 165, and, on that basis,

   denies the allegations.

         166. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 166, and, on that basis,

   denies the allegations.

         167. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 167, and, on that basis,

   denies the allegations.

         168. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 168, and, on that basis,

   denies the allegations.

         169. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 169, and, on that basis,

   denies the allegations.

         170. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 170, and, on that basis,

   denies the allegations.

         171. Rosenberger USA denies the allegations set forth in Paragraph 171.

         172. Rosenberger USA denies the allegations set forth in Paragraph 172.



                                             - 27 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 28 of 44 PageID: 40190




         173. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 173, and, on that basis,

   denies the allegations.

         174. Rosenberger USA denies the allegations set forth in Paragraph 174.

         175. Rosenberger USA denies the allegations set forth in Paragraph 175.

         176. Rosenberger USA incorporates by reference its responses to the

   foregoing allegations.

         177. Rosenberger USA denies the allegations set forth in Paragraph 177.

         178. Rosenberger USA denies the allegations set forth in Paragraph 178.

         179. Rosenberger USA denies the allegations set forth in Paragraph 179.

         180. Rosenberger USA denies the allegations set forth in Paragraph 180.

         181. Rosenberger USA denies the allegations set forth in Paragraph 181.

         182. Rosenberger USA denies the allegations set forth in Paragraph 182.

         183. Rosenberger USA denies the allegations set forth in Paragraph 183.

         184. Rosenberger USA denies the allegations set forth in Paragraph 184.

         185. Rosenberger USA denies the allegations set forth in Paragraph 185.

         186. Rosenberger USA denies the allegations set forth in Paragraph 186.

         187. Rosenberger USA denies the allegations set forth in Paragraph 187.

         188. Rosenberger USA denies the allegations set forth in Paragraph 188.

         189. Rosenberger USA denies the allegations set forth in Paragraph 189.



                                             - 28 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 29 of 44 PageID: 40191




         190. Rosenberger USA denies the allegations set forth in Paragraph 190.

         191. Rosenberger USA incorporates by reference its responses to the

   foregoing allegations.

         192. Rosenberger USA denies the allegations set forth in Paragraph 192.

         193. Rosenberger USA denies the allegations set forth in Paragraph 193.

         194. Rosenberger USA denies the allegations set forth in Paragraph 194.

         195. Rosenberger USA denies the allegations set forth in Paragraph 195.

         196. Rosenberger USA denies the allegations set forth in Paragraph 196.

         197. Rosenberger USA denies the allegations set forth in Paragraph 197.

         198. Rosenberger USA denies the allegations set forth in Paragraph 198.

         199. Rosenberger USA denies the allegations set forth in Paragraph 199.

         200. Rosenberger USA denies the allegations set forth in Paragraph 200.

         201. Rosenberger USA denies the allegations set forth in Paragraph 201.

         202. Rosenberger USA incorporates by reference its responses to the

   foregoing allegations.

         203. Rosenberger USA denies the allegations set forth in Paragraph 203.

         204. Rosenberger USA denies the allegations set forth in Paragraph 204.

         205. Rosenberger USA denies the allegations set forth in Paragraph 205.

         206. Rosenberger USA denies the allegations set forth in Paragraph 206.

         207. Rosenberger USA denies the allegations set forth in Paragraph 207.



                                        - 29 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 30 of 44 PageID: 40192




         208. Rosenberger USA denies the allegations set forth in Paragraph 208.

         209. Rosenberger USA denies the allegations set forth in Paragraph 209.

         210. Rosenberger USA denies the allegations set forth in Paragraph 210.

         211. Rosenberger USA denies the allegations set forth in Paragraph 211.

         212. Rosenberger USA denies the allegations set forth in Paragraph 212.

         213. Rosenberger USA denies the allegations set forth in Paragraph 213.

         214. Rosenberger USA incorporates by reference its responses to the

   foregoing allegations.

         215. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 215, and, on that basis,

   denies the allegations.

         216. Rosenberger USA denies the allegations set forth in Paragraph 216.

         217. Rosenberger USA denies the allegations set forth in Paragraph 217.

         218. Rosenberger USA denies the allegations set forth in Paragraph 218.

         219. Rosenberger USA denies the allegations set forth in Paragraph 219.

         220. Rosenberger USA denies the allegations set forth in Paragraph 220.

         221. Rosenberger USA denies the allegations set forth in Paragraph 221.

         222. Rosenberger USA denies the allegations set forth in Paragraph 222.

         223. Rosenberger USA denies the allegations set forth in Paragraph 223.




                                             - 30 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 31 of 44 PageID: 40193




         224. Rosenberger USA incorporates by reference its responses to the

   foregoing allegations.

         225. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 225, and, on that basis,

   denies the allegations, and respectfully refers the Court to the referenced documents

   for their complete and accurate contents.

         226. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 226, and, on that basis,

   denies the allegations, and respectfully refers the Court to the referenced document

   for its complete and accurate contents.

         227. Paragraph 227 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger USA lacks knowledge

   or information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 227, and, on that basis, denies the allegations.

         228. Paragraph 228 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger USA lacks knowledge

   or information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 228, and, on that basis, denies the allegations.

         229. Paragraph 229 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger USA lacks knowledge



                                             - 31 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 32 of 44 PageID: 40194




   or information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 229, and, on that basis, denies the allegations.

         230. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 230, and, on that basis,

   denies the allegations.

         231. Paragraph 231 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger USA denies the

   allegations set forth in Paragraph 231.

         232. Paragraph 232 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger USA denies the

   allegations set forth in Paragraph 232.

         233. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 233, and, on that basis,

   denies the allegations.

         234. Paragraph 234 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger USA denies the

   allegations set forth in Paragraph 234.

         235. Paragraph 235 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger USA denies the

   allegations set forth in Paragraph 235.



                                             - 32 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 33 of 44 PageID: 40195




         236. Rosenberger USA denies the allegations set forth in Paragraph 236.

         237. Paragraph 237 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger USA denies the

   allegations set forth in Paragraph 237.

         238. Paragraph 238 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger USA respectfully refers

   the Court to the entirety of the referenced agreements for their complete and accurate

   contents.

         239. Rosenberger USA incorporates by reference its responses to the

   foregoing allegations.

         240. Paragraph 240 states legal conclusions to which no response is required.

   To the extent a response is required. Rosenberger USA denies the allegations set

   forth in Paragraph 240.

         241. Paragraph 241 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger USA denies the allegations set

   forth in Paragraph 241.

         242. Paragraph 242 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger USA denies the allegations set

   forth in Paragraph 242.




                                             - 33 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 34 of 44 PageID: 40196




         243. Paragraph 243 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger USA lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   the first sentence of Paragraph 243, and, on that basis, denies the allegations.

   Rosenberger USA denies the remainder of the allegations set forth in Paragraph 243.

         244. Paragraph 244 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger USA lacks knowledge

   or information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 244, and, on that basis, denies the allegations.

         245. Paragraph 245 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger USA lacks knowledge

   or information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 245, and, on that basis, denies the allegations.

         246. Rosenberger USA denies the allegations set forth in Paragraph 246.

         247. Rosenberger USA incorporates by reference its responses to the

   foregoing allegations.

         248. Rosenberger USA admits that it is not a party to the Agreements

   referenced in Paragraph 248 and respectfully refers the Court to the referenced

   agreements for their complete and accurate contents.




                                             - 34 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 35 of 44 PageID: 40197




         249. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 249, and, on that basis,

   denies the allegations.

         250. Rosenberger USA denies the allegations set forth in Paragraph 250.

         251. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 251, and, on that basis,

   denies the allegations.

         252. Paragraph 252 states legal conclusions to which no response is required.

   To the extent a response is required. Rosenberger USA denies the allegations set

   forth in Paragraph 252.

         253. Rosenberger USA denies the allegations set forth in Paragraph 253.

         254. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in Paragraph 254, and, on that basis,

   denies the allegations.

         255. Rosenberger USA denies the allegations set forth in Paragraph 255.

         256. Rosenberger USA denies the allegations set forth in Paragraph 256.

         257. Rosenberger USA denies the allegations set forth in Paragraph 257.

         258. Rosenberger USA lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in the first sentence and the first




                                             - 35 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 36 of 44 PageID: 40198




   clause of the second sentence of Paragraph 258, and, on that basis, denies the

   allegations, and otherwise denies the allegations set forth in Paragraph 258.

         259. Paragraph 259 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger USA lacks knowledge

   or information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 259, and, on that basis, denies the allegations.

         260. Paragraph 260 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger USA lacks knowledge

   or information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 260, and, on that basis, denies the allegations.

         261. Rosenberger USA denies the allegations set forth in Paragraph 261.

         262. Rosenberger USA incorporates by reference its responses to the

   foregoing allegations.

         263. Rosenberger USA denies the allegations set forth in Paragraph 263.

         264. Rosenberger USA denies the allegations set forth in Paragraph 264.

         265. Rosenberger USA denies the allegations set forth in Paragraph 265.

         266. Rosenberger USA denies the allegations set forth in Paragraph 266.

         267. Rosenberger USA denies the allegations set forth in Paragraph 267.

         268. Rosenberger USA denies the allegations set forth in Paragraph 268.

         269. Rosenberger USA denies the allegations set forth in Paragraph 269.



                                             - 36 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 37 of 44 PageID: 40199




         270. Rosenberger USA denies the allegations set forth in Paragraph 270.

         271. Rosenberger USA denies the allegations set forth in Paragraph 271.

         272. Rosenberger USA denies the allegations set forth in Paragraph 272.

         273. Rosenberger USA incorporates by reference its responses to the

   foregoing allegations.

         274. Paragraph 274 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger USA denies the

   allegations set forth in Paragraph 274.

         275. Rosenberger USA denies the allegations set forth in Paragraph 275,

   except admits that Rosenberger Site Solutions is a partially owned subsidiary of

   Rosenberger USA and makes certain decisions independently of the other entities

   named as defendants.

         276. Rosenberger USA denies the allegations set forth in Paragraph 276.

         277. Rosenberger USA denies the allegations set forth in Paragraph 277.

         278. Rosenberger USA incorporates by reference its responses to the

   foregoing allegations.

         279. Paragraph 279 states a legal conclusion to which no response is

   required.




                                             - 37 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 38 of 44 PageID: 40200




         280. Paragraph 280 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger USA denies the

   allegations set forth in Paragraph 280.

         281. Rosenberger USA denies the allegations set forth in Paragraph 281.

         282. Rosenberger USA denies the allegations set forth in Paragraph 282.

         283. Rosenberger USA denies the allegations set forth in Paragraph 283.

         284. Rosenberger USA denies the allegations set forth in Paragraph 284.

         285. Rosenberger USA denies the allegations set forth in Paragraph 285.

         286. Rosenberger USA denies the allegations set forth in Paragraph 286.

         287. Rosenberger USA denies the allegations set forth in Paragraph 287.

         288. Rosenberger USA denies the allegations set forth in Paragraph 288.

                             AFFIRMATIVE DEFENSES

         289. By alleging the Affirmative Defenses set forth below, Rosenberger

   USA intends no alteration of the burden of proof and/or burden of going forward

   with evidence which otherwise exists with respect to any particular issues at law or

   in equity. Furthermore, all such defenses are pleaded in the alternative, and do not

   constitute an admission of liability or that Plaintiffs are entitled to any relief

   whatsoever.




                                             - 38 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 39 of 44 PageID: 40201




                                 First Affirmative Defense

         290. Plaintiffs’ claims are barred in whole or in part because the Second

   Amended Complaint fails to state a claim upon which relief can be granted.

                                Second Affirmative Defense

         291. Plaintiffs’ claims are barred in whole or in part by the applicable

   statutes of limitations, laches, and the statute of repose.

                                 Third Affirmative Defense
         292. Plaintiffs’ claims are barred in whole or in part by the doctrines of

   laches, waiver, consent, release, estoppel, unclean hands, and/or ratification.

                                Fourth Affirmative Defense
         293. Plaintiffs’ claims are barred in whole or in part by the doctrine of

   equitable estoppel.

                                 Fifth Affirmative Defense

         294. Plaintiffs’ claims are barred because Plaintiffs have failed to show that

   what they allege to be trade secrets are actually trade secrets under the law.

                                 Sixth Affirmative Defense

         295. Plaintiffs’ claims are barred because, to the extent any form of trade

   secrets exists, Plaintiffs have not shown that Plaintiffs are the owners of the alleged

   trade secrets.




                                             - 39 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 40 of 44 PageID: 40202




                              Seventh Affirmative Defense

         296. Plaintiffs’ claims are barred because Plaintiffs have failed to identify

   the specific trade secrets allegedly misappropriated and used by Defendants.

                               Eighth Affirmative Defense

         297. Plaintiffs’ claims are barred because the alleged trade secrets are either

   generally known or readily ascertainable by proper means, were not valuable

   business information, or were not the subject of efforts that were reasonable under

   the circumstances to maintain their secrecy.

                               Ninth Affirmative Defense

         298. Plaintiffs’ claims are barred because Plaintiffs failed to take reasonable

   steps to maintain and safeguard the secrecy of any information claimed in this action

   to be a trade secret.

                               Tenth Affirmative Defense

         299. Plaintiffs’ claims are barred because they have not suffered any losses

   or damages proximately caused by the conduct of Defendants alleged in the Second

   Amended Complaint.

                              Eleventh Affirmative Defense
         300. Plaintiffs’ trade secret misappropriation claims fail, in whole or in part,

   because Plaintiffs’ alleged trade secrets have been disclosed publicly or were

   generally known.



                                           - 40 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 41 of 44 PageID: 40203




                               Twelfth Affirmative Defense

         301. Plaintiffs’ trade secret misappropriation claims fail, in whole or in part,

   because the technology and processes used to make the accused products were

   independently developed.

                              Thirteenth Affirmative Defense

         302. Plaintiffs’ trade secret misappropriation claims fail, in whole or in part,

   because, to the extent Rosenberger acquired any alleged trade secret, it did so in a

   lawful manner.

                              Fourteenth Affirmative Defense

         303. Plaintiffs’ claims are barred in whole or in part because Plaintiffs have

   failed to mitigate any damages they may have suffered.

                              Fifteenth Affirmative Defense

         304. Plaintiffs’ claims are barred in whole or in part because they cannot

   demonstrate that Defendants acted with the requisite intent.

                              Sixteenth Affirmative Defense

         305. Plaintiffs’ claims for misappropriation of trade secrets fail, in whole or

   in part, on the grounds that the alleged trade secrets or other confidential and

   proprietary information for which Plaintiffs claim they are entitled to the relief

   sought are not trade secrets because Plaintiffs cannot meet their burden to show that

   the information derives independent economic value, actual or potential, from not



                                           - 41 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 42 of 44 PageID: 40204




   being generally known to, and not being readily ascertainable through proper means

   by, another person who can obtain economic value from the disclosure or use of the

   information.

                            Seventeenth Affirmative Defense

         306. Plaintiffs’ claims are barred in whole or in part by the applicable statute

   of limitations.

                             Eighteenth Affirmative Defense

         307. Plaintiffs are not entitled to injunctive relief because any injury to them

   is not immediate or irreparable, Plaintiffs would have an adequate remedy at law,

   the balance of hardships weighs against an injunction, and the public interest is best

   served by not issuing an injunction.

                             Nineteenth Affirmative Defense

         308. Plaintiffs have not suffered and will not suffer harm as a result of

   Rosenberger’s alleged misconduct.

                             Twentieth Affirmative Defense

         309. Plaintiffs’ claims under United States or state law have no

   extraterritorial effect. Plaintiffs are barred from asserting such claims concerning

   conduct outside the United States.




                                           - 42 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 43 of 44 PageID: 40205




                             Twenty-First Affirmative Defense

         310. Any decision by a court outside the United States, or agreement entered

   into by the parties outside the United States, should be given deference as a matter

   of comity.

                           Twenty-Second Affirmative Defense

         311. Rosenberger USA hereby adopts by reference any additional applicable

   defense pleaded by any other defendant and not otherwise pleaded herein, as well as

   any defense available under the statutes relied upon by Plaintiffs. Rosenberger USA

   intends to rely upon any additional defense that is now or may become available or

   appears during or as a result of the discovery proceedings in this action, and

   expressly reserves its right to amend its answer to assert any such defense.

         WHEREFORE, Rosenberger USA demands judgment in its favor and

   against the Plaintiffs, as follows:

                (a)    For Rosenberger USA and against Plaintiffs on each and every
                       claim set forth in the Second Amended Complaint;
                (b)    Awarding Rosenberger USA reasonable attorneys’ fees and
                       costs as well as such other and further relief as the Court may
                       deem just and proper.




                                           - 43 -
Case 2:19-cv-15962-JXN-LDW Document 462 Filed 09/07/21 Page 44 of 44 PageID: 40206




   Dated: September 7, 2021

                                      Respectfully submitted,
                                      LOWENSTEIN SANDLER LLP

                                       By: /s/ Matthew M. Oliver

                                         Matthew M. Oliver, Esq.
                                         One Lowenstein Drive
                                         Roseland, New Jersey 07068
                                         Telephone: (973) 597-2500
                                         moliver@lowenstein.com

                                         MILBANK LLP
                                         Daniel M. Perry (pro hac vice)
                                         Kim B. Goldberg (pro hac vice)
                                         55 Hudson Yards
                                         New York, New York 10001
                                         Telephone: (212) 530-5000
                                         dperry@milbank.com
                                         kgoldberg@milbank.com
                                         David I. Gindler (pro hac vice)
                                         Y. John Lu (pro hac vice)
                                         2029 Century Park East, 33rd Floor
                                         Los Angeles, CA 90067
                                         Telephone: (424) 386-4000
                                         dgindler@milbank.com
                                         jlu@milbank.com

                                      Attorneys for Defendants Rosenberger
                                      Technology (Kunshan) Co. Ltd.,
                                      Rosenberger Asia Pacific Electronic Co.,
                                      Ltd., Rosenberger Technology LLC,
                                      Rosenberger USA Corp., Rosenberger North
                                      America Pennsauken, Inc., Rosenberger Site
                                      Solutions, LLC, Rosenberger
                                      Hochfrequenztechnik GmbH & Co. KG, and
                                      Northwest Instrument, Inc.



                                      - 44 -
